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                                                            FILED
                                                United States Court of Appeals
                     UNITED STATES COURT OF APPEALS     Tenth Circuit

                            FOR THE TENTH CIRCUIT                   March 30, 2022
                          _________________________________
                                                                Christopher M. Wolpert
                                                                    Clerk of Court
     JEFFREY J. SPERRY,

            Plaintiff - Appellant,

     v.                                                  No. 21-3009
                                                (D.C. No. 5:16-CV-03222-SAC)
     LINDSEY WILDERMUTH;                                   (D. Kan.)
     ANDREW LUCHT; CHRISTOPHER
     ROSS; KEVIN BOSCH; (FNU)
     HUNT; COLLETTE
     WINKLEBAUER; REX PRYOR; K.
     LEE; LARRY HOSHAW; DANIEL
     JACKSON; PHILLIP PATTERSON;
     ROBERT SAPIEN; HANNAH
     BOOTH; JAMES HEIMGARTNER;
     JOHNNIE GODDARD; DOUGLAS
     BURRIS; BILL SHIPMAN;
     RAYMOND ROBERTS; KANSAS
     DEPARTMENT OF
     CORRECTIONS,

            Defendants - Appellees.
                        _________________________________

                             ORDER AND JUDGMENT *
                          _________________________________

 Before HARTZ, BACHARACH, and CARSON, Circuit Judges.

 *
      Oral argument would not help us decide the appeal, so we have
 decided the appeal based on the record and the parties’ briefs. See Fed. R.
 App. P. 34(a)(2)(C); 10th Cir. R. 34.1(G).

       Our order and judgment does not constitute binding precedent except
 under the doctrines of law of the case, res judicata, and collateral estoppel.
 But the order and judgment may be cited for its persuasive value if
 otherwise appropriate. See Fed. R. App. P. 32.1(a); 10th Cir. R. 32.1(A).
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                          _________________________________

       This appeal involves ten claims by a Kansas prisoner, Mr. Jeffrey

 Sperry. In these claims, Mr. Sperry complains of placement and conditions

 in administrative segregation, housing in a cell infested with roaches,

 systematic deprivation of sleep, withholding of publications that had been

 mailed, denial of access to a law library and legal assistance, seizure and

 loss of personal property and legal materials, deprivation of fair hearings

 in disciplinary matters, and shortcomings in the grievance system. The

 defendants include the Kansas Department of Corrections and eighteen

 prison employees.

       The defendants moved, in the alternative, for dismissal or summary

 judgment. The district court stated that it was granting “Defendants’

 motion” but didn’t say which motion was being granted. We treat the

 ruling as a dismissal and reverse the dismissal of Mr. Sperry’s claims

             against Lindsey Wildermuth and Andrew Lucht for retaliation
              through placement in administrative segregation and

             against K. Lee, Bill Shipman, Hannah Booth, and Robert
              Sapien for withholding of mail.

 We affirm the dismissal of Mr. Sperry’s other claims.

 I.    Characterization of the Ruling and the Standard of Review

       Because the defendants had moved alternatively for dismissal or

 summary judgment, we must decide which motion was granted.



                                         2
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       Some of the court’s language suggests that the ruling constituted a

 grant of summary judgment. For example, the court said that it was

 deciding “the motion under the request for summary judgment contained

 therein.” R. at 667. And in the conclusion, the court used the terminology

 of summary judgment, granting “judgment as a matter of law” based on the

 absence of a “genuine issue as to any material fact.” Id. at 691; see Fed. R.

 Civ. P. 56(a) (stating that “[t]he court shall grant summary judgment if the

 movant shows that there is no genuine dispute as to any material fact and

 the movant is entitled to judgment as a matter of law”).

       But the court used other language suggesting dismissal for failure to

 state a valid claim. See Fed. R. Civ. P. 12(b)(6). For example, the

 disposition stated that “[t]his matter is dismissed for failure to state a

 claim upon which relief can be granted.” R. at 691 (bolding omitted). And

 when concluding each section, the court said that it was dismissing each

 cause of action for failure to state a valid claim. 1

       In their briefs, both parties treat the ruling as a dismissal for failure

 to state a valid claim. 2 Given the ambiguity in the ruling, we accept the


 1
       On appeal, the defendants don’t present an alternative argument to
 affirm based on their summary-judgment motion.
 2
       Mr. Sperry’s characterization isn’t consistent. For example, in his
 notice of appeal, he treats the ruling as an “order of summary judgment.”
 R. at 693. In his appeal brief, however, he consistently refers to the ruling
 as one for dismissal for failure to state a valid claim. He also argues that if
 the defendants question the evidentiary support for any of the claims, they
                                         3
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 parties’ characterization. We thus apply the standard used when the district

 court dismisses an action for failure to state a valid claim.

       That standard of review is de novo. Acosta v. Jani-King of Okla.,

 Inc., 905 F.3d 1156, 1158 (10th Cir. 2018). Engaging in de novo review,

 we credit the factual allegations in the complaint and view them favorably

 to Mr. Sperry. SEC v. Shields, 744 F.3d 633, 640 (10th Cir. 2014). But the

 complaint must contain sufficient factual allegations to state a claim for

 relief that is facially plausible. Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009).

 II.   Constitutional Claims

       In the complaint, Mr. Sperry alleges many constitutional violations.

 The district court dismissed each claim.

       A.     Placement in Administrative Segregation

       Mr. Sperry was put in administrative segregation, leading to claims

 involving violation of the First and Fourteenth Amendments. 3

       1.     First Amendment (Retaliation)

       In asserting a violation of the First Amendment, Mr. Sperry alleges

 retaliation for his exercise of constitutionally protected activity. The



 can move for summary judgment after the completion of discovery.
 Appellant’s Opening Br. at 6–11.
 3
      In the complaint, Mr. Sperry also asserted that his placement in
 administrative segregation had violated the Eighth Amendment and
                                        4
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 district court dismissed this claim, stating that Mr. Sperry had failed to

 adequately plead facts showing each defendant’s substantial motivation to

 retaliate for protected conduct. For most of the defendants, we agree. But

 not for two prison employees (Lindsey Wildermuth and Andrew Lucht).

       A retaliation claim bears three elements: (1) identification of

 constitutionally protected activity, (2) conduct “that would chill a person

 of ordinary firmness from continuing to engage in that activity,” and (3)

 facts indicating that the conduct was intended to respond to the exercise of

 protected activity. Gee v. Pacheco, 627 F.3d 1178, 1189 (10th Cir. 2010).

 The complaint contains allegations that would satisfy each element.

       The first element involves protected activity. Mr. Sperry says that he

 helped other inmates in their litigation, and the defendants point out that

 such help isn’t constitutionally protected. Shaw v. Murphy, 532 U.S. 223,

 231 (2001). But Mr. Sperry also claims that he brought his own civil suit,

 which is constitutionally protected. Cohen v. Longshore, 621 F.3d 1311,

 1317–18 (10th Cir. 2010); Trujillo v. Williams, 465 F.3d 1210, 1226–27

 (10th Cir. 2006).

       The second element is conduct that would inhibit continued pursuit

 of Mr. Sperry’s civil case. In the complaint, Mr. Sperry alleged that Ms.



 Fourteenth Amendment’s Equal Protection Clause. He does not reassert
 these claims here.

                                        5
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 Wildermuth and Mr. Lucht had imposed administrative segregation, which

 resulted in transfer to another prison with harsher conditions. A factfinder

 could reasonably infer that the harsher conditions could chill a person of

 ordinary firmness from continued pursuit of a civil case. Gee, 627 F.3d at

 1189; Fogle v. Pierson, 435 F.3d 1252, 1263–64 (10th Cir. 2006).

       The third element involves a retaliatory motive. The defendants

 attribute placement in administrative segregation to a disciplinary

 violation. But Mr. Sperry disagrees, attributing placement in administrative

 segregation to retaliation. He alleges that Ms. Wildermuth and Mr. Lucht

 monitored the civil suit, Ms. Wildermuth issued a disciplinary report

 riddled with errors and refused to make corrections, and Ms. Wildermuth

 blamed the mistakes on a department run by Mr. Lucht. From these

 allegations, a factfinder could reasonably infer a retaliatory motive.

       We thus conclude that Mr. Sperry adequately pleaded satisfaction of

 each element as to Ms. Wildermuth and Mr. Lucht. But Mr. Sperry did not

 plausibly allege the participation of any of the other defendants in the

 retaliatory transfer to administrative segregation. 4 We thus reverse the

 dismissal of this claim only as to Ms. Wildermuth and Mr. Lucht. 5


 4
      The other defendants on this claim are Raymond Roberts, Johnnie
 Goddard, Collette Winklebauer, Rex Pryor, Phillip Patterson, Larry
 Hoshaw, Daniel Jackson, and James Heimgartner.
 5
      Mr. Sperry also alleged a conspiracy and argues on appeal that this
 conspiracy included his placement in administrative segregation.
                                        6
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       2.     Fourteenth Amendment (Due Process)

       Mr. Sperry also claims a denial of due process in violation of the

 Fourteenth Amendment. The district court dismissed this claim, and we

 agree with this ruling.

       The Fourteenth Amendment requires due process only if the

 defendant affected a liberty or property interest. Ky. Dep’t of Corr. v.

 Thompson, 490 U.S. 454, 460 (1989). Mr. Sperry alleges a liberty interest

 based on the state’s regulations governing placement in administrative

 segregation.

       But a liberty interest can arise from state regulations only when they

 extend the duration of confinement or impose an “atypical and significant

 hardship on the inmate in relation to the ordinary incidents of prison life.”

 Sandin v. Conner, 515 U.S. 472, 484, 487 (1995). The district court

 properly concluded that Mr. Sperry had failed to allege facts showing that

 the placement in administrative segregation extended his prison

 confinement or constituted an “atypical and significant hardship” in

 comparison to the typical terms of prison confinement. Id.

       To determine whether the conditions were atypical and significant,

 the court engages in a fact-intensive assessment, considering the totality of


 Appellant’s Opening Br. at 5. But this argument consists only of a single
 sentence and is conclusory. We thus affirm the dismissal of the conspiracy
 claim related to the placement in administrative segregation. Cummings v.
 Dean, 913 F.3d 1227, 1235–36 (10th Cir. 2019).
                                         7
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 the circumstances. Rezaq v. Nalley, 677 F.3d 1001, 1012 (10th Cir. 2012).

 This assessment includes four factors:

       1.     the existence of a legitimate penological interest,

       2.     the extremity of the conditions,

       3.     the possible effect on the duration of confinement, and

       4.     the indeterminate nature of the placement.

 Est. of DiMarco v. Wyo. Dep’t of Corr., 473 F.3d 1334, 1342 (10th Cir.

 2007).

       On the first factor, Mr. Sperry pleaded a factual basis to question the

 legitimacy of the penological interest, for he attributed his placement in

 administrative segregation to petty retaliation.

       On the second factor, Mr. Sperry alleged various losses of privileges:

             lockdown for 24 hours without human interaction,

             constant lighting in the cell,

             lack of visitation,

             limited access to outside recreation,

             limited shower access,

             lack of law-library access,

             lack of opportunities to participate in religious ceremonies,

             lack of access to publications,

             lack of mental-health programs,


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             inability to participate in work-release programs,

             cuffing and connection to a dog leash upon exit from the cell,

             inability to participate in fundraisers,

             inability to access his JPay account,

             inability to use his MP4 player, and

             limited ability to purchase items from the commissary.

 R. at 152. We’ve regarded similar restrictions as typical and insignificant

 in comparison to the ordinary incidents of prison life. Rezaq v. Nalley, 677

 F.3d 1001, 1014–15 (10th Cir. 2012); see also Requena v. Roberts, 893

 F.3d 1195, 1218 (10th Cir. 2018) (“[R]estrictions on an inmate’s telephone

 use, property possession, visitation and recreation privileges are not

 different in such degree and duration as compared with the ordinary

 incidents of prison life.” (internal quotation marks omitted)). 6

       On the third factor, placement in administrative segregation doesn’t

 affect the duration of the sentence. Mr. Sperry complains that he couldn’t

 participate in rehabilitation programs or in work release, which could have

 hurt his chances to obtain parole at his 2020 hearing. But there’s little in




 6
       In non–precedential opinions, we have also concluded that similar
 conditions at this prison weren’t severe enough to create a liberty interest.
 Shields v. Cline, 829 F. App’x 321, 324 (10th Cir. 2020) (unpublished);
 Stallings v. Werholtz, 492 F. App’x 841, 845 (10th Cir. 2012)
 (unpublished).
                                         9
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  the complaint to assess Mr. Sperry’s chance of getting parole even if he

  could have participated in these programs.

        On the fourth factor, Mr. Sperry doesn’t allege that he was to remain

  in administrative segregation for an indefinite period.

        Given the factors as a whole, we conclude that Mr. Sperry’s

  “placement in administrative segregation . . . does not give rise to a liberty

  interest.” Talley v. Hesse, 91 F.3d 1411, 1413 (10th Cir. 1996). Because no

  liberty interest existed, the Fourteenth Amendment did not require due

  process. Templeman v. Gunter, 16 F.3d 367, 371 (10th Cir. 1994). So this

  claim was properly dismissed.

        B.    Infestation of Roaches

        Mr. Sperry also claims that his cell swarmed with roaches for

  roughly 2 ½ months. This claim implicates the Eighth Amendment, which

  is violated only if the prison official recognizes and “disregards an

  excessive risk to inmate health or safety.” Farmer v. Brennan, 511 U.S.

  825, 837 (1994). 7

        Mr. Sperry acknowledges in the complaint that he was told that the

  defendants had an exterminator regularly spray for roaches. (He does not


  7
        In the complaint, Mr. Sperry alleged that at any one time, 3–20
  roaches could be seen anywhere in the cell. Despite these allegations, the
  district court concluded that the alleged infestation was not serious enough
  to implicate the Eighth Amendment. We need not address this issue and
  express no opinion on the objective seriousness of the alleged infestation
  of roaches.
                                        10
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  question the truthfulness of what was said.) Given the efforts to rid the cell

  of roaches, Mr. Sperry has failed to allege a plausible basis to infer

  conscious disregard to his health or safety. See Wishon v. Gammon, 978

  F.2d 446, 449 (8th Cir. 1992) (upholding summary judgment for prison

  officials based on evidence that they regularly sprayed the cells for pests).

        C.    Sleep Deprivation

        Mr. Sperry also claims an Eighth Amendment violation from the

  deprivation of sleep. The alleged sleep deprivation consisted of constant

  lighting of every cell and wakening of every inmate throughout the night.

        The district court dismissed this claim for two reasons: (1) Mr.

  Sperry hadn’t alleged the participation of any of the defendants, and (2)

  the sleep interruptions hadn’t deprived Mr. Sperry of the minimal measures

  of life’s necessities.

        Even if we were to reject the second reason, Mr. Sperry hasn’t

  questioned the first reason for dismissal of this claim. By failing to

  challenge that reason, Mr. Sperry waived his opportunity to show personal

  participation of the defendants. See Moya v. Garcia, 895 F.3d 1229, 1233

  (10th Cir. 2018) (stating that the plaintiff must allege facts showing how

  each defendant “had been personally involved in the underlying violations

  through their own participation or supervisory control”).




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        D.    Withholding of a Book, Magazines, and a Photograph

        Prison authorities prevented mail delivery of a book, three

  magazines, and a photograph. 8 Based on the inability to obtain these

  materials, Mr. Sperry alleges violation of the First and Fourteenth

  Amendments.

        On this claim, the district court reasoned that prison authorities had a

  legitimate penological objective to withhold the book, magazines, and

  photograph. But the court ruled on a motion to dismiss, which limited the

  universe of facts to those alleged in the amended complaint. See Part I,

  above. 9 In the amended complaint, Mr. Sperry needed only to “plead facts

  from which a plausible inference [could] be drawn that the action was not

  reasonably related to a legitimate penological interest.” Gee v. Pacheco,



  8
        In the complaint, Mr. Sperry also alleged withholding of a second
  book (Full Blast by Janet Evanovich and Charlotte Hughes). But he
  acknowledged in district court that this incident had fallen outside the
  limitations period.
  9
        Prison officials relied on an investigative report (otherwise called a
  “Martinez report”) for their summary-judgment motion, but the district
  court ruled on the motion to dismiss rather than the motion for summary
  judgment. When ruling on a motion to dismiss for failure to state a valid
  claim, the court can consider investigative reports only if “the plaintiff
  challenges a prison’s policies or established procedures and the
  [investigative] report’s description of the policies or procedures remains
  undisputed after plaintiff has an opportunity to respond.” Gee v. Pacheco,
  627 F.3d 1178, 1186 (10th Cir. 2010) (quoting Hall v. Bellmon, 935 F.2d
  1106, 1112 (10th Cir. 1991)). As the defendants point out, Mr. Sperry
  hasn’t challenged the prison’s policies or procedures. Appellees’ Resp. Br.
  at 25. So we cannot consider the investigative report.
                                        12
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  627 F.3d 1178, 1188 (10th Cir. 2010). Mr. Sperry’s allegations satisfied

  this standard.

        He alleges five facts:

        1.    Authorities seized a Us Weekly magazine because it contained
              an advertisement for drink recipes, but

                   there’s no rule against possession of publications
                    containing drink recipes and

                   authorities allowed many other publications containing
                    the same advertisement.

        2.    Authorities withheld an issue of Wired Magazine, stating that it
              posed a threat to the security of the facility. But Mr. Sperry’s
              family saw nothing in the magazine that could remotely
              threaten security.

        3.    Authorities seized a second issue of Wired Magazine , but
              never gave a reason for seizing it.

        4.    Authorities seized the book The Target and identified five
              pages as improper. These pages contained fictional discussions

                   about the length of a prisoner’s incarceration,

                   between two death-row inmates,

                   about vetting of CIA agents, and

                   about the selection of two CIA agents for a mission.

        5.    Authorities seized a photograph of a sexily dressed female, but
              it was not pornographic.

  The amended complaint contained nothing to suggest a penological

  objective to seize these materials. So the district court erred in dismissing

  the First Amendment claim for withholding Mr. Sperry’s mail.

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        The resulting issue is which defendants should remain on this claim.

  Mr. Sperry alleged direct involvement by K. Lee, Bill Shipman, Hannah

  Booth, and Robert Sapien. So these defendants should remain on this

  claim. But Mr. Sperry also asserted this claim against Raymond Roberts,

  Johnnie Goddard, Douglas Burris, Rex Pryor, James Heimgartner, and

  Collette Winklebauer based on their failures to properly address

  administrative appeals. Those alleged failures would not constitute

  personal participation. See Gallagher v. Shelton, 587 F.3d 1063, 1069

  (10th Cir. 2009) (stating that “a denial of a grievance, by itself without any

  connection to the violation of constitutional rights alleged by plaintiff,

  does not establish personal participation under [42 U.S.C.] § 1983”). So

  the dismissals were correct for Mr. Roberts, Mr. Goddard, Mr. Burris, Mr.

  Pryor, Mr. Heimgartner, and Ms. Winklebauer.

        The district court also properly dismissed the Fourteenth Amendment

  claim. The court reasoned that (1) Mr. Sperry could have the materials sent

  elsewhere and (2) he had an adequate remedy in state court. On appeal, Mr.

  Sperry does not say what was wrong with the reasoning on the Fourteenth

  Amendment claim. We thus affirm the dismissal of this claim. See Nixon v.

  City & Cty. of Denver, 784 F.3d 1364, 1366 (10th Cir. 2015) (stating that

  the appellant must “explain what was wrong with the reasoning that the

  district court relied on in reaching its decision”); see also Garrett v. Selby

  Connor Maddux & Janer, 425 F.3d 836, 840–41 (10th Cir. 2005) (stating

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  that even unrepresented litigants must present an argument citing the

  record and providing legal authority).

        E.    Denial of Access to a Law Library or Persons Trained in the
              Law

        Mr. Sperry also alleges denial of court access from his inability to

  use the law library or consult individuals trained in the law. 10 But these

  denials would have crossed a constitutional line only if they had hindered

  Mr. Sperry’s effort to litigate a nonfrivolous claim. Penrod v. Zavaras, 94

  F.3d 1399, 1403 (10th Cir. 1996) (per curiam). The district court reasoned

  that Mr. Sperry had failed to explain how better legal access would have

  allowed him to pursue another claim.

        He points to a state court’s rejection of his motion attacking a

  criminal sentence. See Kan. Stat. Ann. § 60–1507. Under Kansas law,

  however, this statute imposes a strict deadline and restricts the filing of

  second or subsequent motions. Id. § 60–1507(c), (f). Based on these

  restrictions, the Kansas Court of Appeals upheld the dismissal of his

  motion as both untimely and successive. Sperry v. State, No. 112,143, 2016

  WL 2942280 (Kan. Ct. App. 2016) (unpublished; per curiam).




  10
        In district court, Mr. Sperry also claimed that this denial of court
  access had constituted retaliation, deprivation of due process, and denial of
  equal protection. On appeal, however, Mr. Sperry doesn’t reassert these
  claims.

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        In reviewing the constitutional claim for denial of court access, the

  district court reasoned that Mr. Sperry hadn’t said how better legal access

  would have changed the outcome in state court. On appeal, Mr. Sperry

  doesn’t address this reasoning. So we must affirm this ruling. See Nixon v.

  City & Cty. of Denver, 784 F.3d 1364, 1366 (10th Cir. 2015) (stating that

  the appellant must “explain what was wrong with the reasoning that the

  district court relied on in reaching its decision”); see also Garrett v. Selby

  Connor Maddux & Janer, 425 F.3d 836, 840–41 (10th Cir. 2005) (stating

  that even unrepresented litigants must present an argument citing the

  record and providing legal authority).

        F.    Seizure of Personal Property

        The prison restricted every inmate’s personal belongings, stating that

  they had to fit in two small boxes. Based on this restriction, the defendants

  allegedly seized Mr. Sperry’s belongings, including his legal materials.

  Based on these alleged seizures, Mr. Sperry claimed violations of the First

  Amendment, the Fourteenth Amendment’s Due Process Clause, 11 a

  conspiracy to violate these amendments, and violation of the Racketeering

  Influenced and Corrupt Organizations Act.




  11
        In the complaint, Mr. Sperry also claimed a denial of the Fourteenth
  Amendment’s Equal Protection Clause. But on appeal, he doesn’t reassert
  this claim.
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        The district court didn’t address the First Amendment claim. We’d

  ordinarily remand for consideration of this claim, see Tabor v. Hilti, Inc.,

  703 F.3d 1206, 1227 (10th Cir. 2013), but a remand is unnecessary because

  the claim was facially deficient, see Fogle v. Pierson, 435 F.3d 1252, 1262

  (10th Cir. 2006).

        As noted above, the First Amendment was violated if the seizure had

  hindered Mr. Sperry’s effort to litigate a nonfrivolous claim. Penrod v.

  Zavaras, 94 F.3d 1399, 1403 (10th Cir. 1996) (per curiam). And on this

  claim, Mr. Sperry referred only to the state appellate court’s rejection of

  his motion attacking a criminal sentence. See Sperry v. State, No. 112,143,

  2016 WL 2942280 (Kan. Ct. App. 2016) (unpublished; per curiam). But

  again, Mr. Sperry hasn’t shown how the seized materials would have

  helped him obtain a better outcome in that state-court appeal. We thus

  reject Mr. Sperry’s reliance on the First Amendment. See Part II(E), above.

        On the Fourteenth Amendment claim, the district court reasoned that

  the defendants had supplied due process by allowing Mr. Sperry to tell

  authorities where to send the seized items. Mr. Sperry doesn’t question this

  reasoning, so we must affirm the ruling. See Nixon v. City & Cty. of

  Denver, 784 F.3d 1364, 1366 (10th Cir. 2015) (stating that the appellant

  must “explain what was wrong with the reasoning that the district court

  relied on in reaching its decision”); see also Garrett v. Selby Connor

  Maddux & Janer, 425 F.3d 836, 840–41 (10th Cir. 2005) (stating that even

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  unrepresented litigants must present an argument citing the record and

  providing legal authority).

        On the claims involving conspiracy and violation of the Racketeering

  Influenced and Corrupt Organizations Act, Mr. Sperry says only that the

  seizure of his property “states a claim upon which relief could be had for

  . . . conspiracy to violate his rights by targeting his legal files for suits

  against [the Kansas Department of Corrections] and its agents, and RICO

  under 18 U.S.C. § 1964.” Appellant’s Opening Br. at 9. 12

        For a conspiracy claim, Mr. Sperry had to “allege specific facts

  showing an agreement and concerted action amongst the defendants.”

  Frasier v. Evans, 992 F.3d 1003, 1024 (10th Cir. 2021) (quoting Tonkovich

  v. Kan. Bd. of Regents, 159 F.3d 504, 533 (10th Cir. 1998)). The district

  court regarded the conspiracy allegations as conclusory, and his appellate

  argument is no more specific. The same is true of the claim involving

  violation of the Racketeering Influenced and Corrupt Organizations Act.

  We thus uphold the rulings on the claims involving a conspiracy and

  violation of the Racketeering Influenced and Corrupt Organizations Act.

  See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of



  12
        Mr. Sperry also pleaded conspiracy claims in connection with his
  other constitutional theories. But in his appeal brief, he refers to the
  conspiracy claim only in connection with his placement in administrative
  segregation and the seizure of his belongings. Appellant’s Opening Br. at
  5, 9.
                                         18
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  the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.”); Khalik v. United Air Lines, 671 F.3d 1188,

  1191 (10th Cir. 2012) (“[I]n examining a complaint under Rule 12(b)(6),

  we will disregard conclusory statements and look only to whether the

  remaining, factual allegations plausibly suggest the defendant is liable.”);

  Cummings v. Dean, 913 F.3d 1227, 1235–36 (10th Cir. 2019) (declining to

  consider an argument consisting of “single conclusory sentence”); Birch v.

  Polaris Indus., Inc., 812 F.3d 1238, 1249 (10th Cir. 2015) (declining to

  consider an argument that was “inadequately briefed” because it was

  “vague, confusing, conclusory, and unsupported by record evidence”).

        G.    Loss of Belongings after Their Seizure

        Mr. Sperry also claims that authorities lost his belongings, violating

  the Fourteenth Amendment’s Due Process Clause. 13 The district court

  rejected this claim, reasoning that Mr. Sperry had adequate post-

  deprivation remedies. Mr. Sperry doesn’t challenge this reasoning, so we

  affirm this ruling. See Nixon v. City & Cty. of Denver, 784 F.3d 1364, 1366

  (10th Cir. 2015) (stating that the appellant must “explain what was wrong

  with the reasoning that the district court relied on in reaching its

  decision”); see also Garrett v. Selby Connor Maddux & Janer, 425 F.3d




  13
        In the complaint, Mr. Sperry also claimed a denial of equal
  protection. But on appeal, he doesn’t reassert this claim.
                                        19
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  836, 840–41 (10th Cir. 2005) (stating that even unrepresented litigants

  must present an argument citing the record and supporting legal authority).

        H.     Lack of Fairness in Disciplinary Proceedings

        Mr. Sperry also claims that his disciplinary proceedings were unfair.

  The district court rejected the claim, reasoning that the proceedings hadn’t

  affected the duration of the sentence. Mr. Sperry again fails to address the

  district court’s reasoning, so we must uphold the ruling. See Nixon v. City

  & Cty. of Denver, 784 F.3d 1364, 1366 (10th Cir. 2015) (stating that the

  appellant must “explain what was wrong with the reasoning that the district

  court relied on in reaching its decision”); see also Garrett v. Selby Connor

  Maddux & Janer, 425 F.3d 836, 840–41 (10th Cir. 2005) (stating that even

  unrepresented litigants must present an argument citing the record and

  providing legal authority).

        I.    Deficiencies in the Prison’s Grievance System

        In the complaint, Mr. Sperry also alleges that prison authorities made

  a mockery of the grievance system. The district court rejected these

  allegations, concluding that Mr. Sperry had failed to show hindrance to a

  nonfrivolous claim or a constitutional right to a grievance system. Mr.

  Sperry again fails to address the district court’s reasoning, so we affirm

  the ruling. See Nixon v. City & Cty. of Denver, 784 F.3d 1364, 1366 (10th

  Cir. 2015) (stating that the appellant must “explain what was wrong with

  the reasoning that the district court relied on in reaching its decision”); see

                                        20
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  also Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 840–41 (10th

  Cir. 2005) (stating that even unrepresented litigants must present an

  argument citing the record and providing legal authority).

  III.    State-Law Claims

          In his appeal brief, Mr. Sperry invokes the Kansas Tort Claims Act

  and asserts claims for battery, breach of fiduciary duty, negligence, and

  outrage. These claims were properly dismissed.

          A.    Battery

          In Kansas, a battery takes place only if the defendant makes contact

  or puts another in apprehension of contact. Wilson v. Meeks, 98 F.3d 1247,

  1253 (10th Cir. 1996). But the complaint lacks any allegations of a

  touching or threatened touching by any of the defendants. So the district

  court properly dismissed this claim.

          Mr. Sperry argues on appeal that he was touched by the roaches and

  likens the roaches to dogs, insisting that a dog owner can incur liability for

  a battery when a dog attacks someone. But a dog owner owns and controls

  the dog, and the prison doesn’t own or control the roaches. Given this

  difference, the district court properly dismissed the battery claim.

          B.    Other State–Law Claims

          In his appeal brief, Mr. Sperry also sprinkles references to various

  other causes of action under Kansas law:



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             “If mistreatment of a confined person is a crime, it certainly
              constitutes a violation of the Prison officials[’] fiduciary duty
              to protect Plaintiff from criminal abuse, and a jury could
              certainly find that torturing prisoners with roaches for 2½
              months constitutes outrageous conduct.” Appellant’s Opening
              Br. at 6.

             “For the same reasons as the roach infestation, sleep
              deprivation constitutes the torts of battery, breach of fiduciary
              duty, outrageous conduct and negligence.” Id. at 7.

             “[Seizure of his belongings] clearly states a claim upon which
              relief could be had for . . . state torts . . . .” Id. at 9.

             “He is also protected from loss by [Kansas Department of
              Corrections] and its agents due to intentional or negligent
              seizure, damage or loss of his property by [the Kansas
              Department of Corrections’] agents. K.S.A. 75–6101 et seq.”
              Id.

             “[T]he Kansas Tort Claims Act protects him from these corrupt
              disciplinary proceedings as this is a diversity jurisdiction case.
              75–6101 et seq.” Id. at 10.

             “These privileges and rights [available to inmates in general
              population and denied to inmates in administrative segregation]
              are protected by the Kansas Tort Claims Act under K.S.A. 75–
              6101 et seq.” Id. at 11.

  In these statements, Mr. Sperry does not adequately develop an argument

  involving the Kansas Tort Claims Act or a cause of action for breach of

  fiduciary duty, negligence, or outrage. We thus do not consider these

  references as distinct arguments. See Adler v. Wal-Mart Stores, Inc., 144




                                        22
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  F.3d 664, 679 (10th Cir. 1998) (“Arguments inadequately briefed in the

  opening brief are waived . . . .”). 14

  IV.    Conclusion

         We reverse and remand on (1) the First Amendment retaliation claim

  against defendants Wildermuth and Lucht and (2) the First Amendment

  claim against defendants Lee, Shipman, Booth, and Sapien for withholding

  of his mail. On the remaining dismissals, we affirm. 15

                                            Entered for the Court


                                            Robert E. Bacharach
                                            Circuit Judge




  14
       Though Mr. Sperry is pro se, he must comply with the same
  procedural rules governing other litigants. Garrett v. Selby Connor Maddux
  & Janer, 425 F.3d 836, 840 (10th Cir. 2005).
  15
       The defendants have not argued for affirmance on any alternative
  ground, so we express no opinion on the availability of summary judgment.
  Because the district court did not rule on the defendants’ alternative
  argument for summary judgment, the court should consider that argument
  on remand, if appropriate, as to the claims involving (1) retaliation against
  defendants Wildermuth and Lucht and (2) censorship of a photograph, the
  book The Target, and the magazines Us Weekly and Wired Magazine.

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